  Case 19-09035      Doc 5     Filed 02/25/20 Entered 02/25/20 15:04:37        Desc Main
                                  Document    Page 1 of 1



                        UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF IOWA

 IN RE:                                                CHAPTER 11
                                                       CASE NO. 19-00507M
 McQUILLEN PLACE COMPANY, LLC,

                      Debtor(s).
                                       _____________

 McQUILLEN PLACE COMPANY, LLC,                         ADV. NO. 19-09035

                      Plaintiff,                       APPEARANCE

 v.

 FIRST SECURITY BANK & TRUST CO.,

                      Defendant.
                                       _____________

       COMES NOW Larry S. Eide of the law firm of Pappajohn, Shriver, Eide & Nielsen

P.C., and appears in this matter as attorney for the Defendant First Security Bank & Trust

Company.

                                       /s/ Larry S. Eide
                                      Larry S. Eide (AT0002317)
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                                   CERTIFICATE OF SERVICE

        The undersigned, Larry S. Eide, certifies that on February 25, 2020, he served a copy
of the foregoing document on all parties who receive electronic notice through CM/ECF as
listed on CM/ECF’s notice of electronic filing, and by ordinary United States mail, postage
prepaid, addressed as follows on all other parties: NONE.

                                                   /s/ Larry S. Eide
                                                  Larry S. Eide (AT0002317)
